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                                   #:11617



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 9   Attorneys for Defendants MindGeek, S.à r.l (specially appearing),
     MG Freesites Ltd, MG Premium Ltd, MindGeek USA Incorporated, MG Global
10   Entertainment Inc., and 9219-1568 Quebec Inc.
11
12                       UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA
14   SERENA FLEITES,                         Case No. 2:21-cv-04920-WLH-ADS
15
                     Plaintiff,              Case Assigned to Hon. Wesley L. Hsu
16        v.                                 Courtroom 9B
17
     MINDGEEK S.À R.L, et al.,               NOTICE OF MOTION AND
18                                           MOTION TO DISMISS OF
19                   Defendants.             DEFENDANTS MINDGEEK
                                             S.A R.L., MG FREESITES LTD,
20                                           MINDGEEK USA INCORPORATED,
21                                           MG GLOBAL ENTERTAINMENT
                                             INC., AND 9219-1568 QUEBEC INC.
22
                                             Hearing Date:    November 22, 2024
23                                           Hearing Time:    1:30 p.m.
                                             Courtroom:       9B
24                                           Judge:           Hon. Wesley L. Hsu
25                                           Complaint Filed: June 17, 2021
26                                           Trial Date:      Not Set Yet

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         NOTICE OF MOTION AND MOTION TO DISMISS OF MINDGEEK DEFENDANTS
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 1        TO THIS HONORABLE COURT, TO ALL PARTIES AND TO THEIR
 2   ATTORNEYS OF RECORD:
 3        PLEASE TAKE NOTICE that on November 22, 2024 at 1:30 p.m. or as soon
 4   thereafter as the matter may be heard before the Honorable Wesley L. Hsu in
 5   Courtroom 9B, 9th Floor of the above-entitled court, located at 350 W. 1st Street, Los
 6   Angeles, California 90012, Defendants MindGeek, S.à r.l. (specially appearing), MG
 7   Freesites Ltd, MG Premium Ltd, MindGeek USA Incorporated, MG Global
 8   Entertainment Inc., and 9219-1568 Quebec Inc. (collectively the “MindGeek
 9   Defendants”), by and through their counsel, will and hereby do respectfully move this
10   Honorable Court to dismiss with prejudice all of Plaintiff Serena Fleites’s (“Plaintiff”)
11   claims against the MindGeek Defendants pursuant to Federal Rule of Civil Procedure
12   Rules 12(b)(2), on the grounds that the Court lacks personal jurisdiction over
13   Defendant MindGeek, S.à r.l. (specially appearing), and Rule 12(b)(6), on the
14   grounds that the Second Amended Complaint fails to state a claim against the
15   MindGeek Defendants upon which relief may be granted.
16         This Motion is based upon this Notice of Motion, the attached Memorandum
17   of Points and Authorities, the Declarations of Peter A. Biagetti and Andreas
18   Alkiviades Andreou and exhibits thereto, the pleadings, documents, and records on
19   file in this action, all other matters judicially noticeable, such further papers as may
20   be filed in connection with this Motion, and on further documentary evidence and
21   oral argument as this Court may consider.
22         This Motion is made following the conference of counsel (by video) pursuant
23   to L.R. 7-3, which took place on August 22, 2024.
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         NOTICE OF MOTION AND MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                           Case No. 2:21-cv-04920-WLH-ADS
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                                   #:11619



 1   Dated: August 30, 2024             Respectfully submitted,

 2                                      MINTZ LEVIN COHN FERRIS GLOVSKY
                                        AND POPEO, P.C.
 3
 4
                                        /s/ Peter A. Biagetti
 5
                                        Esteban Morales
 6                                      Peter A. Biagetti
 7                                      Attorneys for Defendants
 8                                      MindGeek, S.à r.l. (specially appearing),
                                        MG Freesites Ltd, MG Premium Ltd,
 9                                      MindGeek USA Incorporated, MG Global
10                                      Entertainment Inc., and 9219-1568 Quebec
                                        Inc.
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        NOTICE OF MOTION AND MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                          Case No. 2:21-cv-04920-WLH-ADS
